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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

           RULE 5.4 CERTIFICATE OF SERVICE OF DISCOVERY

        Pursuant to Local Rule 5.4, I hereby certify that the following notices of

intent to serve subpoenas were served on all counsel of record by electronic

delivery of a PDF version:

     1. Plaintiffs’ Omnibus Notice of Intent to Serve Subpoenas to Produce

        Documents and exhibits thereto attaching subpoenas to Benjamin R.

        Cotton, Paul V. Maggio, Scott G. Hall, James A. Barnes Jr., Coffee

        County Board of Elections, Cathleen A. Latham, Emily Misty Hampton,

        & Eric B. Chaney (June 15, 2022); and

     2. Plaintiffs’ Omnibus Notice of Intent to Serve Subpoenas to Testify at a

        Deposition and exhibits thereto attaching subpoenas to Benjamin R.

        Cotton, Paul V. Maggio, Scott G. Hall, James A. Barnes Jr., Coffee
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      County Board of Elections, Cathleen A. Latham, Emily Misty Hampton,

      & Eric B. Chaney (June 15, 2022).

          I further certify that a copy of the foregoing Rule 5.4 Certificate of Service

of Discovery was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send notification of such filing to all attorneys of

record.

                              [signature on following page]
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Dated: June 15, 2022                Respectfully submitted,

                                     /s/ Mary G. Kaiser
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